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 9
                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
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12
     JENILE THAMES, individually and on behalf of   Case No.
13   all others similarly situated,
14                                                  CLASS ACTION COMPLAINT
                                Plaintiff,
15          v.
                                                    JURY TRIAL DEMANDED
16   MARS INC.,
17                              Defendant.
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 1          Plaintiff Jenile Thames (“Plaintiff”) brings this action on behalf of himself, and all others
 2   similarly situated against Mars, Inc. (“Defendant”). Plaintiff makes the following allegations
 3   pursuant to the investigation of his counsel and based upon information and belief, except as to the
 4   allegations specifically pertaining to himself, which are based on personal knowledge.
 5                                      NATURE OF THE ACTION
 6          1.      Plaintiff brings this Class action lawsuit on behalf of himself and similarly situated
 7   consumers (“Class Members”) who purchased for personal, family, or household consumption,
 8   Defendant’s candies sold under the brand name “Skittles” (the “Products”), 1 which are unfit for
 9   human consumption because they contain titanium dioxide (“TiO2”), a known toxin. Defendant has
10   long known of the health problems posed by TiO2. In fact, in February 2016, Defendant publicly
11   committed to phasing out TiO2. But Defendant has flouted its own promise to consumers. More
12   than six years later, Defendant continues to sell the Products with TiO2, unbeknownst to reasonable
13   consumers who purchase the Products.
14          2.      Interestingly, in its February 2016 press release, Defendant blew smoke, suggesting
15   that its planned phase out of TiO2 was called for simply because “consumers today are calling on
16   food manufacturers to use more natural ingredients in their products.” Incredibly, Defendant even
17   claimed that “[a]rtificial colors pose no known risks to human health or safety.” In doing so,
18   Defendant concealed from consumers material information it knew. Namely, that numerous of its
19   competitors and other food manufacturers had long removed the toxin from their product lines
20   because of scientific research showing that the toxin is unsafe for consumption.
21          3.      Several nations have banned the harmful toxin. For example, in 2019, the toxin was
22   banned in France, where Defendant maintains offices and announced that it could and would comply
23   with France’s law.
24          4.      In May 2021, the European Food Safety Authority (“EFSA”) released its report on
25   the health concerns associated with TiO2, determining that TiO2 could not be considered safe for
26   consumption. Professor Maged Younes, Chair of EFSA’s expert Panel on Food Additives and
27   1
      This includes Skittles Original, Skittles Wild Berry, Sour Skittles, Tropical Skittles, and
28   Smoothies Skittles, among others.


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 1   Flavourings (“FAF”) underscored these findings, stating that: “Taking into account all available
 2   scientific studies and data, the Panel concluded that titanium dioxide can no longer be considered
 3   safe as a food additive. A critical element in reaching this conclusion is that we could not exclude
 4   genotoxicity concerns after consumption of titanium dioxide particles.” 2
 5            5.     Building on EFSA’s research, the European Commission (“EC”) announced that it
 6   too would adopt a ban on the use of TiO2 as a food additive. Under that plan, the ban would apply
 7   following a six-month transition period, and beginning summer 2022, the additive should no longer
 8   be added to food products. That plan was adopted unanimously by Member States.
 9            6.     Defendant—with offices in Netherland, Denmark, Ireland, Italy, Portugal, Germany,
10   Norway, Czech Republic, Romania, Belgium Switzerland, Austria, Slovakia, Hungary, France,
11   Greece, and Spain3—and with sales in each of those Member States was reminded of the scientific
12   findings concerning TiO2 and was required to comply with the EC’s ban.
13            7.     Nonetheless, in the United States, Defendant maintains sales with TiO2 as an additive,
14   failing to inform consumers of the implications of consuming the toxin. Instead, Defendant relies
15   on the ingredient list which is provided in miniscule print on the back of the Products, the reading of
16   which is made even more challenging by the lack of contrast in color between the font and packaging,
17   as set out below in a manner in which consumers would normally view the product in the store.
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      EFSA, “Titanium dioxide: E171 no longer considered safe when used as a food additive,” (May
27   6, 2021), https://www.efsa.europa.eu/en/news/titanium-dioxide-e171-no-longer-considered-safe-
     when-used-food-additive.
28   3
         MARS, “Our Locations,” https://cze.mars.com/en/locations?language_content_entity=en.

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 1          8.      Consequently, consumers who purchase Defendant’s Products are at heightened risk
 2   of a host of health effects for which they were unaware stemming from genotoxicity—the ability of
 3   a chemical substance to change DNA.
 4          9.      Based on Defendant’s omissions, a reasonable consumer would expect that the
 5   Product can be safely purchased and consumed as marketed and sold. However, the Products are not
 6   safe and pose a significant health risk to unsuspecting consumers. Yet, neither before nor at the time
 7   of purchase does Defendant notify consumers like Plaintiff that the Products are unsafe to consumers,
 8   contain heightened levels of titanium dioxide, and should otherwise be approached with caution.
 9          10.     Accordingly, Plaintiff brings his claims against Defendant individually and on behalf
10   of a class of all others similarly situated for (1) violation of California’s Unfair Competition Law,
11   Cal. Bus. & Prof. Code § 17200, et seq.; (2) violation of the Consumers Legal Remedies Act, Cal.
12   Civ. Code § 1750, et seq.; (3) breach of the Implied Warranty under Song-Beverly Consumer
13   Warranty Act, Cal. Civ. Code § 1792, et seq.; and California Commercial Code § 2314; (4) violation
14   of California’s False Advertising Law, Cal. Bus. & Prof. Code § 17200, et seq.; (5) Fraud; (6)
15   Fraudulent Inducement; (7) Fraudulent Omission or Concealment; and (8) Quasi-Contract / Unjust
16   Enrichment.
17                                                PARTIES
18          11.     Plaintiff Jenile Thames is a natural person and citizen of California who resides in
19   San Leandro, California. In or around April 11, 2022, Mr. Thames purchased Original Skittles from
20   a brick-and-mortar QuikStop in San Leandro, California. Prior to his purchase, Mr. Thames
21   reviewed the labeling, packaging, and marketing materials of the products and saw the false and
22   misleading claims that, among other things, the Products are safe for human consumption. Mr.
23   Thames understood these claims to be representations and warranties by Mars, Inc., that the Products
24   are free from all traces of harmful ingredients.         Mr. Thames reasonably relied on these
25   representations and warranties in deciding to purchase the Products, and these representations were
26   part of the basis of the bargain in that he would not have purchased the Products or would not have
27   purchased them on the same terms, if the true facts about its contents had been known. As a direct
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 1   result of Mars Inc.’s material misrepresentations and omissions, Mr. Thames suffered, and continues
 2   to suffer, economic injuries.
 3          12.     Mr. Thames remains interested in purchasing candies from Defendant that are safe
 4   for consumption. However, Plaintiff is unable to determine if the Products are actually safe for
 5   consumption. Plaintiff understands that the composition of the Products may change over time. But
 6   as long as Defendant may market the Products as safe for consumption when the Products are not
 7   safe consumption, then when presented with false or misleading information when shopping, he will
 8   be unable to make informed decisions about whether to purchase Defendant’s Products and will be
 9   unable to evaluate the different prices between Defendant’s Products and competitor’s Products.
10   Plaintiff is further likely to be repeatedly misled by Defendant’s conduct, unless and until Defendant
11   is compelled to ensure that Products marketed and labeled as safe for consumption, are, in fact, safe
12   for consumption.
13          13.     Defendant Mars Inc. is a foreign corporation with its domestic headquarters located
14   at 9885 Elm Street, McLean, Virginia 22101. Relevant to Plaintiff’s claim herein, Mars is a leading
15   manufacturer, packager, and distributor of, among other products, candy, and confectionery. Mars
16   Inc. has done business throughout California and the United States at all times during the Class
17   Period. At all relevant times, Mars Inc., has advertised, marketed, manufactured, distributed, and/or
18   sold candy and confectionery, including the Products at issue, to consumers in and throughout
19   California and the United States. At all relevant times, Mars Inc., formulated, directed, controlled,
20   had the authority to control, and/or participated in the acts and practices set fourth in this Complaint.
21          14.     Plaintiffs reserve the right to amend this Complaint and add different products and
22   additional defendants, including without limitation and officer, director, employee, supplier, or
23   distributor of Defendant who has knowingly and willfully aided, abetted, and/or conspired in the
24   false and deceptive conduct alleged herein.
25                                     JURISDICTION AND VENUE
26          15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A), as
27   amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class action
28   where the aggregate claims of all members of the proposed class are in excess of $5,000,000.00,


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 1   exclusive of interest and costs, there are over 100 members of the putative class, and Plaintiffs, as
 2   well as most members of the proposed class, are citizens of different states than Defendant. This
 3   Court has personal jurisdiction over Defendant because it is licensed to do business in California,
 4   has designated an agent for services of process in California, and otherwise conducts substantial
 5   business in California.
 6           16.     This Court has personal jurisdiction over Defendant because Defendant conducts
 7   substantial business within California such that Defendant has significant, continuous, and pervasive
 8   contacts with the State of California.
 9           17.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant does
10   substantial business in this District and a substantial part of the events giving rise to Plaintiff’s claims
11   took place within this District and Plaintiff saw and heard Defendant’s advertisements in this District.
12                                        FACTUAL ALLEGATIONS
13           A.      Mars’ Candy Skittles

14           18.     Skittles candy are manufactured, marketed, and sold by Mars Wrigley. The candy is

15   well-known by its colorful array, which Mars has dubbed “the rainbow” for marketing purposes to

16   great success. For example, Skittles was “America’s favorite non-chocolate chewy candy in 2017,

17   with sales in excess of $185 million U.S. dollars.”4

18           19.     The color of Defendant’s rainbow, however, is due to its use of TiO2.

19           20.     Significantly, Defendant need not rely on the use of TiO2 to achieve this result.

20           21.     Numerous of Defendant’s competitors do not use TiO2 in their Products and yet are

21   able to maintain the colorful impression Defendant hopes to achieve with its Products.

22           22.     For example, Swedish Fish Soft & Chewy Candy does not rely on TiO2 and yet

23   achieves a bright red color.

24           23.     Likewise, Black Forest Gummy Bears does not rely on TiO2 and still strikes an

25   assortment of colors, including orange, red, yellow, and green.

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27   4
       Nils-Gerrit Wunsch, Sales of Leading Non-Chocolate Chewy Candy Brands of the United States
     in 2017, STATISTA (Nov. 25, 2020) available at https://www.statista.com/statistics/190409/top-non-
28   chocolate-chewy-candy-brands-in-the-united-states/ (last visited June 10, 2022).

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 1          24.     Similarly, Sour Patch Kids does not make use of TiO2 and accomplishes vivid colors
 2   like lime green, yellow, orange, and redberry.
 3          25.     Nerds also achieves bright colors including blue, green, red, and orange without the
 4   use of TiO2.
 5          26.     Indeed, even Defendant has colorful confectionary goods such as its M&Ms product
 6   line that do not rely on TiO2.
 7          B.      Titanium Dioxide is Harmful to Human Health
 8          27.      In February 2016, Defendant alerted the public of its intention to remove TiO2 from
 9   its confectionary products.
10          28.     Following that announcement, Jaydee Hanson, Senior Policy Analyst at Center for
11   Food Safety, stated that “We are pleased to see that MARS has taken a positive step toward
12   eliminating toxic, unnecessary nanomaterials from its line of food products. We urge the company
13   to speed up the removal of these additives, especially given the grave health concerns associated with
14   titanium dioxide and other nanoparticles.”
15          29.     Mr. Hanson further stated that “Studies have shown that the human health risks
16   associated with ingesting nanoparticles of many common food additives far outweigh any utility for
17   producers. There are plenty of non-toxic alternatives available and we urge MARS and others to
18   commit to not using any engineered nanomaterials in human and animal food products.”
19          30.     Defendant’s public statements built on efforts by other large food companies to
20   remove TiO2 from their products. In March 2015, for example, Dunkin Donuts announced that it
21   would no longer use TiO2.
22          31.     The reason for eliminating titanium dioxide is simple: TiO2—which is used in paints,
23   coatings, adhesives, plastics, printing inks, and roofing materials—has demonstrated an ability to
24   pass through biological membranes, circulate through the body, and enter cells. Research shows that
25   the effects are serious, including DNA and chromosomal damage, organ damage, inflammation,
26   brain damage, genital malformations, lesions in the liver and kidneys, and cell neurosis.
27          32.     Titanium dioxide also builds up in the body’s intestinal tract. Ordinarily, the intestinal
28   track serves to absorb nutrients for the body. However, titanium dioxide cannot be absorbed. When


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 1   this occurs, the body’s M-Cells absorb these particles and bring them to the innate immune system.
 2   Overtime, the titanium dioxide particles are incorporated by the innate immune system cells where
 3   they will remain without being degraded or dissolved.
 4          33.     In 2019, the French government responded to these troubling findings by banning all
 5   foods containing titanium dioxide. This ban took effect in January 2020.
 6          34.     At that time, Defendant’s subsidiary, Mars Wrigley Confectionary France, confirmed
 7   that it could and would comply with the law.
 8          35.      Later that year, in October 2020, the European Parliament removed titanium dioxide
 9   from the list of food additives authorized by the European Union for human consumption. European
10   researchers studying titanium dioxide noted that the long half-lives of titanium dioxide nanoparticles
11   created the potential for the particles to accumulate inside human organs and tissue. European
12   researchers also determined that titanium dioxide nanoparticles could cause DNA strands to break,
13   leading to chromosomal damage.
14          C.      Defendant’s Omissions Concerning TiO2 is Actionable
15          36.     Despite its February 2016 commitment to U.S. consumers and its apparent
16   compliance with the laws of the European Commission, Defendant has endangered U.S. consumers,
17   exposing them to TiO2, which Defendant knows carries significant health concerns. It also failed to
18   tell consumers that contrary to its earlier representations, it did not remove TiO2.
19          37.     As a result, Plaintiff and the Class were injured by the full purchase price of the
20   Products because the Products are worthless, as they are marketed as safe for human consumption
21   when they are not in fact safe for human consumption.
22          38.     Plaintiff and Class Members bargained for products that are safe for consumption and
23   were deprived of the basis of their bargain when Defendant sold them Products in packaging
24   containing dangerous substances with serious health consequences.
25          39.     No reasonable consumer would expect that the Products marketed as safe for human
26   consumption would pose a risk to their health, safety, and well-being, or that it would contain TiO2,
27   which is linked to harmful health effects in humans. Accordingly, Plaintiff and Class Members
28   suffered economic injuries as a result of purchasing the Products.


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 1           40.       As the Products expose consumers to a substance that pose a risk to consumers’
 2   health, the Products are not fit for consumption by humans. Plaintiff and the Class are further entitled
 3   to damages for the injury sustained in being exposed to TiO2, damages related to Defendant’s
 4   conduct, and injunctive relief.
 5           41.       Moreover, because these facts relate to a critical safety-related deficiency in the
 6   Products, Defendant was under a continuous duty to disclose to Plaintiff and Class Members the true
 7   standard, quality, and grade of the Products and to disclose that the Products contained substances
 8   known to have adverse health effects. Nonetheless, Defendant concealed and misrepresented this
 9   information, as discussed herein.
10           42.       Although Defendant is in the best position to know what content it placed on its
11   packaging during the relevant timeframe, and the knowledge that Defendant had regarding the
12   presence of TiO2, and its failure to warn consumers that the Products contained TiO2, to the extent
13   necessary, Plaintiff satisfies the requirements of Rule 9(b) by alleging the following facts with
14   particularity:
15           43.       WHO: Defendant made material omissions of fact about the Products through its
16   labeling which shows that the Products are safe for human consumption. These representations
17   constitute omitted material information regarding harmful chemicals.
18           44.       WHAT: Defendant’s conduct here was, and continues to be, fraudulent because it
19   omitted and concealed that the Products contain a substance—TiO2—that is widely known to have
20   significant health repercussions. Thus, Defendant’s conduct deceived Plaintiff and Class Members
21   into believing that the Products are safe for human consumption when they are not. Defendant knew
22   or should have known that this information is material to reasonable consumers, including Plaintiff
23   and Class Members in making their purchasing decisions, yet they continued to pervasively market
24   the Product in this manner in the U.S. market.
25           45.       WHEN: Defendant made material omissions during the putative class periods,
26   including prior to and at the time Plaintiff and Class Members purchased the Products, despite its
27   knowledge that the Products’ packaging contained TiO2, a harmful substance with known adverse
28   health effects.


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 1          46.     WHERE: Defendant’s marketing message was uniform and pervasive, carried
 2   through material omissions on the labeling of the Product’s packaging, website, and through
 3   marketing materials.
 4          47.     HOW: Defendant made material omissions of fact regarding the Products, including
 5   the presence of TiO2 in the Products.
 6          48.     WHY: Defendant made the material omissions detailed herein for the express
 7   purpose of inducing Plaintiff, Class Members, and all reasonable consumers to purchase and/or pay
 8   for the Products, the effect of which was that Defendant profited by selling the Products to hundreds
 9   of thousands of consumers.
10          49.     INJURY: Plaintiff and Class Members purchased, paid a premium (up to the full-
11   price), or otherwise paid more for the Products when they otherwise would not have absent
12   Defendant’s omissions.
13                                        CLASS ALLEGATIONS
14          50.     Class Definition.        Plaintiffs bring this action on behalf of a class of similarly
15   situated individuals, defined as all persons in the United States who, within the applicable statute of
16   limitations period, up to and including the date of final judgement in this action, purchased any of
17   Defendant’s Products at issue (the “Class”)
18                  (a)     California Subclass. Plaintiff Jenile Thames also seeks to represent a
19   subclass of all Class members who within the applicable statutes of limitations period, up to and
20   including the date of final judgement in this action, purchased any of the Products at issue in
21   California (the “California Subclass”).
22          51.     Excluded from the Class and Subclasses are persons who made such purchase for
23   purpose of resale, Defendant and any entities in which Defendant has a controlling interest,
24   Defendant’s agents and employees, the judge to whom this action is assigned, and members of the
25   judge’s staff, and the judge’s immediate family.
26          52.     Plaintiff reserves the right to amend the definition of the Class and Subclass if
27   discovery or further investigation reveals that the Class or Subclass should be expanded or otherwise
28   modified.


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 1          53.     Numerosity. Members of the Class and Subclass are so numerous that their
 2   individual joinder herein is impracticable. On information and belief, members of the Class and
 3   Subclass number in the millions. The precise number of Class members and their identities are
 4   unknown to Plaintiff at this time but may be determined though discovery. Class members may be
 5   notified of the pendency of this action by mail and/or publications through the distribution records
 6   of Defendant and third-party retailers and vendors.
 7          54.     Commonality and Predominance. Common questions of law and fact exist as to all
 8   Class members and predominate over questions affecting only individual Class members. Common
 9   legal and factual questions include but are not limited to: whether Defendant warranted the Products
10   as “Safe for Human Consumption”; whether the Products contain Titanium Dioxide; whether
11   Defendant breached these warranties; and whether Defendant committed the statutory and common
12   law violations alleged against them herein by doing so.
13          55.     Typicality.     The claims of the named Plaintiff is typical of the claims of the Class
14   in that Plaintiffs purchased one of Defendant’s Products in reliance on the presentations and
15   warranties described above and suffered a loss as a result of that purchase.
16          56.     Adequacy.       Plaintiff is an adequate representative of the Class and respective
17   Subclass because his interest does not conflict with the interests of the Class and Subclass members
18   he seeks to represent, he has retained competent counsel experienced in prosecuting class actions,
19   and they intend to prosecute this action vigorously. The interests of the Class and Subclass members
20   will be fairly and adequately protected by Plaintiffs and their counsel.
21          57.     Superiority.    The class mechanism is superior to other available means for the fair
22   and efficient adjudication of the claims of Class members. Each individual Class members may lack
23   the resources to undergo the burden and expense of individual prosecution of the complex and
24   extensive litigation necessary to establish Defendant’s liability. Individualized litigation increases
25   the delay and expense of all parties and multiplies the burden on the judicial system presented by the
26   complex legal and factual issues of the case. Individualized litigation also presents a potential for
27   inconsistent or contradictory judgments. In contrast, the class action device presents far fewer
28   management difficulties and provides the benefits of single adjudication, economy of scale, and


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 1   comprehensive supervision by a single court on the issue of Defendant’s liability. Class treatment
 2   of the liability issue will ensure that all claims and claimants are before this Court for consistent
 3   adjudication of liability issues.
 4            58.    Defendant has acted or failed to act on grounds generally applicable to the Class,
 5   thereby making appropriate final injunctive relief with respect to the Class and Subclass as a whole.
 6            59.    Without a class action, Defendant will continue a course of action that will result in
 7   further damages to Plaintiff and members of the Class and Subclass and will likely retain the benefits
 8   of its wrongdoing.
 9            60.    Based on the foregoing allegations, Plaintiff’s claims for relief include those set forth
10   below.
                                                 COUNT I
11
                             Violation of California’s Unfair Competition Law,
12                                Cal. Bus. & Prof. Code §§ 17200, et seq.
              61.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
13
              62.    Plaintiff brings this claim individually and on behalf of the Class against Defendant.
14
              63.    California Business and Professions Code § 17200 prohibits “any unlawful, unfair, or
15
     fraudulent business act or practice.” For the reasons discussed above, Defendant has engaged in
16
     unlawful, unfair, and fraudulent business acts or practices in violation of California Business &
17
     Professions Code § 17200.
18
              64.    By committing the acts and practices alleged herein, Defendant has violated
19
     California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200-17210, as to the
20
     Class, by engaging in unlawful, fraudulent, and unfair conduct.
21
              65.    Defendant has violated the UCL’s proscription against engaging in Unlawful
22
     Business Practices as a result of its violations of the CLRA, Cal. Civ. Code § 1770(a)(5), (a)(7), and
23
     (a)(9) as alleged below, violations of California’s Song-Beverly Act, and violations of California’s
24
     False Advertising Law, in addition to breaches of warranty and violations of common law.
25
              66.    As more fully described above, Defendant’s misleading marketing, advertising,
26
     packaging, and labeling of the Product is likely to deceive reasonable consumers. In addition,
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 1   Defendant has committed unlawful business practices by, inter alia, making the omissions of material
 2   facts, as set forth more fully herein, and violating the common law.
 3          67.     Plaintiff and the Class Members reserve the right to allege other violations of law
 4   which constitute other unlawful business acts or practices.
 5          68.     Defendant has also violated the UCL’s proscription against engaging in Unfair
 6   Business Practices. Defendant’s acts, omissions, misrepresentations, practices and non-disclosures
 7   as alleged herein also constitute “unfair” business acts and practices within the meaning of Business
 8   & Professions Code § 17200 et seq. in that its conduct is substantially injurious to consumers, offends
 9   public policy, and is immoral, unethical, oppressive, and unscrupulous as the gravity of the conduct
10   outweighs any alleged benefits attributable to such conduct.
11          69.     There were reasonably available alternatives to further Defendant’s legitimate
12   business interests, other than the conduct described herein.
13          70.     Defendant has further violated the UCL’s proscription against engaging in
14   Fraudulent Business Practices. Defendant’s claims, nondisclosures and misleading statements
15   with respect to the Product, as more fully set forth above, were false, misleading and/or likely to
16   deceive the consuming public within the meaning of Business & Professions Code § 17200.
17          71.     Plaintiff and the other Class Members suffered a substantial injury by virtue of buying
18   the Products that they would not have purchased absent Defendant’s unlawful, fraudulent, and unfair
19   marketing, advertising, packaging, and omission about the defective nature of the Products.
20          72.     There is no benefit to consumers or competition from deceptively marketing and
21   omitting material facts about the true nature of the Products.
22          73.     Plaintiff and the other Class Members had no way of reasonably knowing that the
23   Products they purchased were not as marketed, advertised, packaged, or labeled. Thus, they could
24   not have reasonably avoided the injury each of them suffered.
25          74.     The gravity of the consequences of Defendant’s conduct as described outweighs any
26   justification, motive, or reason therefore, particularly considering the available legal alternatives
27   which exist in the marketplace, and such conduct is immoral, unethical, unscrupulous, offends
28   established public policy, or is substantially injurious to Plaintiff and the other Class Members.


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 1            75.    Pursuant to California Business and Professional Code § 17203, Plaintiff and the
 2   Class seek an order of this Court that includes, but is not limited to, an order requiring Defendant to
 3   (a) provide restitution to Plaintiff and the other Class Members; (b) disgorge all revenues obtained
 4   as a result of violations of the UCL; and (c) pay Plaintiff’s and Class members’ attorneys’ fees and
 5   costs.
 6            76.    Here, equitable relief is appropriate because Plaintiff may lack an adequate remedy at
 7   law, if, for instance damages resulting from his purchase of the Products is determined to be an
 8   amount less than the premium price of the Product. Without compensation for the full premium
 9   price of the Products, Plaintiff would be left without the parity in purchasing power to which he is
10   entitled.
11            77.    Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
12   provide full and accurate disclosures regarding the Products so that Plaintiff and Class members can
13   reasonably rely on Defendant’s representations as well of those of Defendant’s competitors who may
14   then have an incentive to follow Defendant’s deceptive practices, further misleading consumers.
15            78.    Restitution and/or injunctive relief may also be more certain, prompt, and efficient
16   than other legal remedies requested herein. The return of the full premium price, and an injunction
17   requiring either (1) adequate disclosure of TiO2 in the Product and its effects; or (2) the removal of
18   such chemicals from the Product packaging, will ensure that Plaintiff is in the same place he would
19   have been in had Defendant’s wrongful conduct not occurred, i.e., the position to make an informed
20   decision about the purchase of the Products absent omissions with the full purchase price at his
21   disposal.
22                                               COUNT II
23                  Violation of California’s Consumers Legal Remedies Act (“CLRA”),
                                     California Civil Code § 1750, et seq.
24
              79.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
25
              80.    Plaintiff brings this claim individually and on behalf of the Class against Defendant
26
              81.    Civil Code § 1770(a)(5) prohibits “[r]epresenting that goods or services have
27
     sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        13
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 1   have or that a person has a sponsorship, approval, status, affiliation, or connection which he or she
 2   does not have.”
 3           82.       Civil § 1770(a)(7) prohibits “[r]epresenting that goods or services are of a particular
 4   standard, quality, or grade, or that goods are of a particular style or model, if they are of another.”
 5           83.       Civil § 1770(a)(9) prohibits “advertising goods or services with intent not to sell them
 6   as advertised.”
 7           84.       Defendant violated Civil Code § 1770(a)(5), (a)(7), and (a)(9) by holding out the
 8   Product as safe for human consumption, when in fact the Product is not safe, dangerous, and useless.
 9           85.       The Products are not safe because they contain TiO2, a harmful toxin with known
10   adverse health effects.
11           86.       Defendant has exclusive or superior knowledge of the Product’s composition and the
12   associated health concerns, which was not known to Plaintiff or Class Members.
13           87.       Plaintiff and Class Members have suffered harm as a result of these violations of the
14   CLRA because they have incurred charges and/or paid monies for the Product that they otherwise
15   would not have incurred or paid, and were unknowingly exposed to a significant and substantial
16   health risk.
17           88.       On April 13, 2022, prior to the filing of this Complaint, Plaintiff’s counsel sent
18   Defendant a CLRA notice letter, which complies in all respects with California Civil Code § 1782(a).
19   The letter was sent via certified mail, return receipt requested, advising Defendant that it was in
20   violation of the CLRA and demanding that it cease and desist from such violations and make full
21   restitution by refunding the monies received therefrom. The letter stated that it was sent on behalf
22   of all other similarly situated purchasers. Defendant refused to correct its practices. Accordingly,
23   Plaintiff, individually, and on behalf of the proposed Class, seeks, in addition to injunctive relief,
24   monetary damages from Defendant as permitted by Civil Code § 1782(d) for Defendant’s violations
25   of the CLRA.
26           89.       Here, equitable relief is appropriate because Plaintiff may lack an adequate remedy at
27   law, if, for instance damages resulting from his purchase of the Products is determined to be an
28   amount less than the premium price of the Products. Without compensation for the full premium


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 1   price of the Products, Plaintiff would be left without the parity in purchasing power to which he is
 2   entitled.
 3           90.      Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
 4   provide full and accurate disclosures regarding the Products so that Plaintiff and Class members can
 5   reasonably rely on Defendant’s representations as well of those of Defendant’s competitors who may
 6   then have an incentive to follow Defendant’s deceptive practices, further misleading consumers.
 7           91.      Restitution and/or injunctive relief may also be more certain, prompt, and efficient
 8   than other legal remedies requested herein. The return of the full premium price, and an injunction
 9   requiring either (1) adequate disclosure of TiO2 in the Products and its effects; or (2) the removal of
10   such chemicals from the Products’, will ensure that Plaintiff is in the same place he would have been
11   in had Defendant’s wrongful conduct not occurred, i.e., the position to make an informed decision
12   about the purchase of the Products absent omissions with the full purchase price at his disposal.
13                                                COUNT III
14                 Breach of Implied Warranty Under the Song-Beverly Act, Cal. Civ. Code
                            § 1790, et seq. and California Commercial Code § 2314
15
             92.      Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
16
             93.      Plaintiff brings this claim individually and on behalf of the Class against Defendant.
17
             94.      Under the Song-Beverly Consumer Warranty Act, Cal. Civ. Code § 1790. et seq., and
18
     California Commercial Code § 2314, every sale of consumer goods in the State of California is
19
     accompanied by both a manufacturer’s and retailer seller’s implied warranty that the goods are
20
     merchantable, as defined in that Act. In addition, every sale of consumer goods in California is
21
     accompanied by both a manufacturer’s and retail seller’s implied warranty of fitness when the
22
     manufacturer or retailer has reason to know that the goods as represented have a particular purpose
23
     and that the buyer is relying on the manufacturer’s or retailer’s skill or judgment to furnish suitable
24
     goods consistent with that represented purpose.
25
             95.      The Products at issue here are “consumer goods” within the meaning of Cal. Civ.
26
     Code § 1791(a).
27

28


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 1           96.     Plaintiff and the Class Members who purchased the Products are “retail buyers”
 2   within the meaning of Cal. Civ. Code § 1791.
 3           97.     Defendant is in the business of manufacturing, assembling, and/or producing the
 4   Product and/or selling the Product to retail buyers, and therefore are a “manufacturer” and “seller”
 5   within the meaning of Cal. Civ. Code § 1791.
 6           98.     Defendant impliedly warranted to retailer buyers that the Products were merchantable
 7   in that they would: (a) pass without objection in the trade or industry under the contract description,
 8   and (b) were fit for the ordinary purposes for which the Products are used. For a consumer good to
 9   be “merchantable” under the Act, it must satisfy both of these elements. Defendant breached these
10   implied warranties because the Products were unsafe for human consumption. Therefore, the
11   Products would not pass without objection in the trade or industry and were not fit for the ordinary
12   purpose for which they are used.
13           99.     Plaintiff and Class Members purchased the Products in reliance upon Defendant’s
14   skill and judgment in properly packaging and labeling the Products.
15           100.    The Products were not altered by Plaintiff or the Class Members.
16           101.    The Products were defective at the time of sale when they were in the exclusive
17   control of Defendant. The issue as described in this complaint was latent in the product and not
18   reasonably discoverable at the time of sale.
19           102.    Defendant knew that the Products would be purchased and consumed without
20   additional testing by Plaintiff and Class Members.
21           103.    As a direct and proximate cause of Defendant’s breach of the implied warranty,
22   Plaintiff and Class Members have been injured and harmed because they would not have purchased
23   the Products if they knew the truth about the Products, namely, that they were unfit for use and posed
24   a significant safety risk.
25           104.    Plaintiff and the Class seek compensatory damages, attorneys’ fees, costs, and any
26   other just and proper relief available under law.
27   ///
28   ///


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 1                                                COUNT IV
                               (Violation of California’s False Advertising Law,
 2                                  Cal. Bus. & Prof. Code § 17500, et seq.)
 3           105.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
 4           106.    Plaintiff brings this claim individually and on behalf of Class against Defendant.
 5           107.    Defendant’s acts and practices, as described herein, have deceived and/or are likely
 6   to continue to deceive Class Members and the public. As described above, and throughout this
 7   Complaint, Defendant misrepresented the Products as safe for human consumption, in fact, the
 8   Products were not safe.
 9           108.    By its actions, Defendant disseminated uniform advertising regarding the Products to
10   and across California. The advertising was, by its very nature, unfair, deceptive, untrue, and
11   misleading within the meaning of Cal. Bus. & Prof. Code § 17500, et seq. Such advertisements were
12   intended to and likely did deceive the consuming public for the reasons detailed herein.
13           109.    The above-described false, misleading, and deceptive advertising Defendant
14   disseminated continues to have a likelihood to deceive in that Defendant failed to disclose that the
15   Products contain substances that pose a significant risk to the health and well-being of Plaintiff and
16   the Class Members.
17           110.    Defendant continues to misrepresent to consumers that the Products are safe for
18   consumption. However, as described, that is not the case.
19           111.    In making and disseminating these statements, Defendant knew, or should have
20   known, its advertisements were untrue and misleading in violation of California law. Plaintiff and
21   other Class Members based their purchasing decisions on Defendant’s omitted material facts. The
22   revenue attributable to the Products sold in those false and misleading advertisements likely amounts
23   to tens of millions of dollars. Plaintiff and Class Members were injured in fact and lost money and
24   property as a result.
25           112.    The misrepresentations and non-disclosures by Defendant of the material facts
26   described and detailed herein constitute false and misleading advertising and, therefore, constitutes
27   a violation of Cal. Bus. & Prof. Code § 17500, et seq.
28


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 1           113.   As a result of Defendant’s wrongful conduct, Plaintiff and Class Members lost money
 2   in an amount to be proven at trial. Plaintiff and Class Members are therefore entitled to restitution
 3   as appropriate for this cause of action.
 4           114.   Plaintiff and Class Members seek all monetary and non-monetary relief allowed by
 5   law, including restitution of all profits stemming from Defendant’s unfair, unlawful, and fraudulent
 6   business practices; declaratory relief; reasonable attorneys’ fees and costs under California Code of
 7   Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable relief.
 8           115.   Here, equitable relief is appropriate because Plaintiff may lack an adequate remedy at
 9   law, if, for instance damages resulting from his purchase of the Products is determined to be an
10   amount less than the premium price of the Products. Without compensation for the full premium
11   price of the Products, Plaintiff would be left without the parity in purchasing power to which he is
12   entitled.
13           116.   Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
14   provide full and accurate disclosures regarding the Products so that Plaintiff and Class members can
15   reasonably rely on Defendant’s representations as well of those of Defendant’s competitors who may
16   then have an incentive to follow Defendant’s deceptive practices, further misleading consumers.
17           117.   Restitution and/or injunctive relief may also be more certain, prompt, and efficient
18   than other legal remedies requested herein. The return of the full premium price, and an injunction
19   requiring either (1) adequate disclosure of the TiO2 in the Products and its effects; or (2) the removal
20   of such chemicals from the Products, will ensure that Plaintiff is in the same place he would have
21   been in had Defendant’s wrongful conduct not occurred, i.e., the position to make an informed
22   decision about the purchase of the Products absent omissions and misrepresentations with the full
23   purchase price at his disposal.
                                                   COUNT V
24
                                                    Fraud
25           118.   Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
26           119.   Plaintiff brings this claim individually and on behalf of the Class.
27

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         18
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 1          120.   At the time Plaintiff and Class Members purchased the Products, Defendant did not
 2   disclose, but instead concealed and misrepresented, the Products as safe for human consumption.
 3          121.   Defendant also knew that its omissions and misrepresentations regarding the Products
 4   were material, and that a reasonable consumer would rely upon Defendant’s omissions in making
 5   purchasing decisions.
 6          122.   Plaintiff and Class Members did not know—nor could they have known through
 7   reasonable diligence—about the true nature of the Products.
 8          123.   Plaintiff and Class Members would have been reasonable in relying on Defendant’s
 9   omissions in making their purchasing decisions.
10          124.   Plaintiff and Class Members had a right to rely upon Defendant’s omissions as
11   Defendant maintained monopolistic control over knowledge of the true nature and quality of the
12   Products.
13          125.   Plaintiff and Class Members sustained damages as a result of their reliance on
14   Defendant’s omissions, thus causing Plaintiff and Class Members to sustain actual losses and
15   damages in a sum to be determined at trial, including punitive damages.
16                                             COUNT VI
17                                        Fraudulent Inducement
            126.   Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
18
            127.   Plaintiff brings this claim individually and on behalf of the Class.
19
            128.   Defendant did not disclose, but instead concealed material information about the
20
     Products as discussed herein.
21
            129.   Defendant knew, or should have known, that the Products were falsely and
22
     misleadingly portrayed and that knowledge of the safety-related issues discussed throughout was
23
     withheld from the consumer public.
24
            130.   Defendant also knew that its omissions regarding the Products were material, and that
25
     a reasonable consumer would rely on Defendant’s omissions in making purchasing decision.
26
            131.   Plaintiff and Class Members did not know—nor could they have known through
27
     reasonable diligence—about the true nature and quality of the Products.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      19
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 1          132.    Plaintiff and Class Members would have been reasonable in relying on Defendant’s
 2   omissions in making their purchasing decisions.
 3          133.    Plaintiff and Class Members had a right to rely on Defendant’s omissions as
 4   Defendant maintained monopolistic / superior control over the Products, and what information was
 5   available regarding the Products.
 6          134.    Defendant intended to induce—and did, indeed, induce—Plaintiff and Class
 7   Members into purchasing the Products based upon its omissions.
 8          135.    Plaintiff and Class Members sustained damages as a result of their reliance on
 9   Defendant’s omission, thus causing Plaintiff and Class Members to sustain actual losses and damages
10   in a sum to be determined at trial.
11
                                              COUNT VII
12                                 Fraudulent Concealment or Omission
            136.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
13
            137.    Plaintiff brings this claim individually and on behalf of the Class.
14
            138.    At all relevant times, Defendant was engaged in the business of designing,
15
     manufacturing, distributing, and selling the Product.
16
            139.    Defendant, acting through its representatives or agents, delivered the Products to its
17
     distributors and various other distribution channels.
18
            140.    Defendant willfully, falsely, and knowingly omitted various material facts regarding
19
     the quality and character of the Products as discussed throughout.
20
            141.    Rather than inform consumers of the truth regarding the Products, Defendant
21
     misrepresented the quality of the Products as discussed herein at the time of purchase.
22
            142.    Defendant made these material misrepresentations to boost or maintain sales of the
23
     Products, and to falsely assure purchasers of the Products that Defendant is a reputable company and
24
     that its Products are safe for consumption. The false representations were material to consumers
25
     because the omissions played a significant role in the value of the Products purchased.
26
            143.    Plaintiff and Class Members accepted the terms of use, which were silent on the true
27
     nature of the Products, as discussed throughout. Plaintiff and Class Members had no way of knowing
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       20
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 1   Defendant’s omissions as to the Products and had no way of knowing that Defendant’s omissions
 2   were misleading.
 3          144.    Although Defendant had a duty to ensure the safety, completeness, and accuracy of
 4   the information regarding the Product, it did not fulfill these duties.
 5          145.    Defendant omitted or concealed material facts partly to pad and protect its profits, as
 6   it saw that profits and sales of the Products were essential for its continued growth and to maintain
 7   and grow its reputation as a premier designer and vendor of the Products. Such benefits came at the
 8   expense of Plaintiff and Class Members.
 9          146.    Plaintiff and Class Members were unaware of these material omissions, and they
10   would not have acted as they did had they known the truth. Plaintiff’s and class members’ actions
11   were justified given Defendant’s omissions. Defendant was in the exclusive / superior control of
12   material facts, and such facts were not widely known to the public.
13          147.    Due to Defendant’s misrepresentations, Plaintiff and Class Members sustained injury
14   due to the purchase of the Products that did not live up to its advertised representations. Plaintiff and
15   Class Members are entitled to recover full refunds for the Products they purchased due to
16   Defendant’s omissions.
17          148.    Defendant’s acts were done maliciously, oppressively, deliberately, and with intent
18   to defraud, and in reckless disregard of Plaintiff, and Class Members’ rights and well-being, and in
19   part to enrich itself at the expense of consumers. Defendant’s acts were done to gain commercial
20   advantage over competitors, and to drive consumers away from consideration of competing products.
21   Defendant’s conduct warrants an assessment of punitive damages in an amount sufficient to deter
22   such conduct in the future.
23
                                              COUNT VIII
24                                  Quasi-Contract / Unjust Enrichment
            149.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.
25
            150.    Plaintiff brings this claim individually and on behalf of the Class.
26
            151.    To the extent required by law, this cause of action is alleged in the alternative to legal
27
     claims, as permitted under Fed. R. Civ. P. 8.
28


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 1           152.   Plaintiff and Class Members conferred benefits on Defendant by purchasing the
 2   Product.
 3           153.   Defendant was unjustly enriched in retaining the revenues derived from Plaintiff and
 4   Class Members’ purchases of the Products. Retention of those moneys under these circumstances is
 5   unjust and inequitable because Defendant failed to disclose that the Product was unfit for its intended
 6   purpose as it was unsafe for use. These omissions caused injuries to Plaintiff and Class Members
 7   because they would not have purchased the Products if the true facts were known.
 8           154.   Because Defendant’s retention of the non-gratuitous benefits conferred on them by
 9   Plaintiff and Class Members is unjust and inequitable, Defendant has been unjustly enriched in an
10   amount to be determined at trial.
11           155.   Here, equitable relief is appropriate because Plaintiff may lack an adequate remedy at
12   law, if, for instance damages resulting from his purchase of the Products is determined to be an
13   amount less than the premium price of the Products. Without compensation for the full premium
14   price of the Products, Plaintiff would be left without the parity in purchasing power to which he is
15   entitled.
16           156.   Restitution may also be more certain, prompt, and efficient than other legal remedies
17   requested herein. The return of the full premium price will ensure that Plaintiff is in the same place
18   he would have been in had Defendant’s wrongful conduct not occurred, i.e., the position to make an
19   informed decision about the purchase of the Products absent omissions and misrepresentations with
20   the full purchase price at his disposal.
21                                         REQUEST FOR RELIEF
22           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
23   Judgment against Defendant, as follows:
24                  (a)     For an order certifying the Class under Fed. R. Civ. P. 23 and naming Plaintiff
                            as representative of the Class and Plaintiff’s attorneys as Class Counsel;
25
                    (b)     For an order declaring that Defendant’s conduct violates the statutes
26                          referenced herein;
27
                    (c)     For an order finding in favor of Plaintiff, the Class on all counts asserted
28                          herein;


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 1
                      (d)      For compensatory, statutory, and punitive damages in amounts to be
 2                             determined by the Court and/or jury;
 3
                      (e)      For prejudgment interest on all amounts awarded;
 4
                      (f)      For an order of restitution and all other forms of equitable monetary relief;
 5
                      (g)      For injunctive relief as pleaded or as the Court may deem proper;
 6

 7                    (h)      For an order awarding Plaintiff and the Class their reasonable attorneys’ fees
                               and expenses and costs of suit.
 8
                                                JURY TRIAL DEMANDED
 9
             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any and
10
     all issues in this action so triable of right.
11

12
     Dated: July 14, 2022                       BURSOR & FISHER, P.A.
13
                                                By:    /s/ L. Timothy Fisher
14                                                         L. Timothy Fisher
15                                              L. Timothy Fisher (State Bar No. 191626)
                                                Sean L. Litteral (State Bar No. 331985)
16                                              Elvia M. Lopez (State Bar No. 331986)
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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2           I, L. Timothy Fisher, declare as follows:
 3           1.      I am an attorney at law licensed to practice in the State of California and a member
 4   of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Jenile Thames.
 5   Plaintiff Thames resides in San Leandro, California. I have personal knowledge of the facts set forth
 6   in this declaration and, if called as a witness, I could and would competently testify thereto under
 7   oath.
 8           2.      The Complaint filed in this action is filed in the proper place for trial under Civil Code
 9   Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred in the
10   Northern District of California, as Plaintiff purchased the Product from a retail store located within
11   this District. Additionally, Defendant advertised, marketed, manufactured, distributed, and/or sold
12   the Products at issue to Plaintiff from this District.
13           I declare under the penalty of perjury under the laws of the State of California and the United
14   States that the foregoing is true and correct and that this declaration was executed at Walnut Creek,
15   California this 14th day of July, 2022.
16
                                                         /s/ L. Timothy Fisher
17
                                                            L. Timothy Fisher
18

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